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                                                          IN THE CIRCUIT COURT, OF THE
                                                          FOURTH JUDICIAL CIRCUIT, IN AND
                                                          FOR CLAY COUNTY, FLORIDA

                                                          CASE NO.:
           CLCM HOLDINGS, LLC, a limited liability
           company,

                 Plaintiff,

           vs.

           AMERICAN ZURICH INSURANCE
           COMPANY,

                Defendant.
           _________________________________/

                              COMPLAINT AND DEMAND FOR JURY TRIAL

                 COMES NOW the Plaintiff, CLCM HOLDINGS, LLC (hereinafter referred to as

          “Plaintiff”), by and through the undersigned counsel, and hereby sues Defendant,

          AMERICAN ZURICH INSURANCE COMPANY (hereinafter referred to as “Defendant”),

          and as grounds therefore states as follows:

                                        JURISDICTION AND VENUE

                 1.     This is an action for damages in excess of fifty thousand ($50,000.00),

          exclusive of pre-judgement interest, attorney’s fees, and costs.

                 2.     At all times material hereto, Plaintiff owned property located at 19 Blanding

          Blvd., Orange Park, FL 32073 (the “Property”).

                 3.     At all times material hereto, Defendant was a corporation duly licensed to

          conduct business in the State of Florida and is engaged in the business of insurance in

          Clay County.

                 4.     Jurisdiction and venue are proper in this Court.
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                                               GENERAL ALLEGATIONS

                    5.    At all times material, Plaintiff’s Property was covered and insured for

          covered losses by Policy Number ER74058935 issued by Defendant (the “Policy”).

          Plaintiff has requested a complete copy of the Policy from Defendant. A copy of the Policy

          is attached hereto as Exhibit “A.”

                    6.    Plaintiff has paid all premiums on the Policy, and the Policy was in full force

          and in effect at all relevant times herein.

                    7.    On or about November 11, 2022, Plaintiff suffered damages to the

          Property, including but not limited to storm, wind, rain, and/or water intrusion damages.

                    8.    Defendant assigned claim number 5630088068.

                    9.    The damage to the Property was caused by a covered peril under the

          Policy.

                    10.   The damage to Plaintiff’s property is accidental, continuing in nature, and

          covered under the Policy.

                    11.   Plaintiff duly made an application for insurance benefits under the Policy,

          but Defendant has failed and refused to admit coverage and pay Plaintiff the benefits to

          which it is entitled for the loss.

                    12.   All conditions precedent to obtaining payment of said benefits under the

          policy from Defendant have been compiled with, met or were waived by Defendant.

                    13.   As a result of Defendant’s refusal to pay the losses sustained by Plaintiff,

          Plaintiff has retained the services of the undersigned attorney and is obliged to pay a

          reasonable fee for services thereof. Plaintiff is entitled to attorneys’ fees in this action

          pursuant to Fla. Stat. § 627.428 and/or 627.70152.
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                                                  COUNT 1
                                             (Breach of Contract)

                 14.    Plaintiff hereby incorporate by reference paragraphs 1 through 13, as

          though fully set forth herein.

                 15.    Plaintiff and Defendant are parties to a valid and binding contract under

          which Defendant is required to provide insurance benefits to Plaintiff in the event of a

          covered loss to Plaintiff’s Property.

                 16.    Plaintiff has suffered a covered loss to the Property.

                 17.    Defendant has breached the Policy by failing to knowledge the covered loss

          and failing to pay Plaintiff all of the benefits due and owing under the Policy.

                 18.    Plaintiff has been damaged by Defendant’s breach of contract.

                 19.    Plaintiff is entitled to damages, including but not limited to, the full cost of

          remediation and repair of the Property.

                 20.    Plaintiff is entitled to compensation for the loss to the Property. Plaintiff

          seeks the following damages: (a) the full cost for remediation and repair of the Property;

          (b) damages including court costs, attorneys’ fees under Fla. Stat. § 627.428 and/or

          627.70152, expert fees and costs, and pre-judgment interest; and (c) additional policy

          benefits for additional living expenses, loss of rental value, debris removal, and/or any

          other benefit available under the policy.

                 WHEREFORE, the Plaintiff, CLCM HOLDINGS, LLC, demands judgment against

          Defendant/Insurer, AMERICAN ZURICH INSURANCE COMPANY for:

                 A.     All damages to which Plaintiff are entitled, including all benefits available

          under the Policy of insurance;

                 B.     Pre-judgment interest;
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                C.     Court costs, expert fees, and attorneys’ fees pursuant to Fla. Sta. §§

          57.041, 92.231, and 627.428 and/or 627.70152; and

                D.     Any such other and further relief that this Court deems just and reasonable.

                                        DEMAND FOR JURY TRIAL

                Plaintiff demands a trial by jury on all issues so triable.

                                        CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a true and correct copy of the foregoing has been

          provided to the Defendant via the Chief Financial Officer as RA, Service of Process

          Section, 200 East Gaines Street, Tallahassee, FL 32314.

                                                            WOOLSEY MORCOM, PLLC

                                                            By: /s/ Jonathan O’Neil
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